






Opinion issued December 4, 2008









In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-07-00693-CV

____________


YAM BUSINESS, INC., KARIMALI DHOLASANIYA, AND JAY R. YIM,
Appellants


V.


BEACHES AND BEACHES, INC., Appellee






On Appeal from the 215th District Court

Harris County, Texas

Trial Court Cause No. 2006-63971






MEMORANDUM  OPINION

	Appellants have filed a motion to dismiss the appeal.  More than 10 days have
elapsed, and no objection has been filed.  No opinion has issued.  Accordingly, the
motion is granted, and the appeal is dismissed.  Tex. R. App. P. 42.1(a)(1).

	All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.

PER CURIAM

Panel consists of Justices Jennings, Hanks, and Bland.


